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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   STACIE DAVIS,                                       CASE NO. C19-1929-JCC
10                          Plaintiff,                   MINUTE ORDER
11           v.

12   HELEN C. CHOO, et al.,

13                          Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Plaintiff Stacie Davis’s response and request for
18   an extension of time to file proof of service of process (Dkt. No. 21). On September 28, 2020,
19   the Court denied Ms. Davis’s motions for default judgment because she did not show the
20   defendants were properly served in a manner authorized by Federal Rule of Civil Procedure 4.
21   (Dkt. No. 20.) The Court ordered Ms. Davis to file proof of service by October 12, 2020 and
22   indicated that absent such proof, the Court would dismiss the case without prejudice for lack of
23   prosecution. See Fed. R. Civ. P. 4(m) (requiring service within 90 days of filing a complaint);
24   (Dkt. No. 20.)
25          Ms. Davis has now responded to the Court’s order and asks for additional time to show
26   proof of service because she needs to get a copy of her bank records “showing the purchase at


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 1   the post office.” (Dkt. No. 21.) It appears Ms. Davis may have attempted to perfect service of

 2   process by U.S. mail. However, that is not an authorized manner of serving an individual or local

 3   government. See Fed. R. Civ. P. 4(e), (j). While a plaintiff may, in a writing addressed to an

 4   individual defendant, request that the individual defendant waive service of summons, see Fed.

 5   R. Civ. P. 4(d)(1), Ms. Davis’s response does not state that such a request is what she mailed.

 6   (See Dkt. No. 21.)

 7          Nevertheless, the Court will exercise its broad discretion to extend the time for service

 8   under Rule 4(m). Accordingly, the Court GRANTS Ms. Davis’s request for an extension of time

 9   (Dkt. No. 21). Ms. Davis is ORDERED to serve the remaining defendants and file proof of

10   service by October 30, 2020. If she does not, the case will be dismissed without prejudice. To

11   serve the defendants, Ms. Davis must comply with Federal Rule of Civil Procedure 4, which is

12   available for free at https://www.law.cornell.edu/rules/frcp/rule_4.

13          DATED this 16th day of October 2020.

14                                                          William M. McCool
                                                            Clerk of Court
15
                                                            s/Tomas Hernandez
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                                                            Deputy Clerk
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